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United States Court of Appeals

FoR THE DISTRICT OF COLUMBIA CIRCUIT

No. 20-5143 September Term, 2019
1:17-cr-00232-EGS-1
Filed On: May 21, 2020
in re: Michael T. Flynn,

Petitioner.

BEFORE: Henderson, Wilkins, and Rao, Circuit Judges

ORDER
Upon consideration of the emergency petition for a writ of mandamus, it is

ORDERED, on the court's own motion, that within ten days of the date of this
order the district judge file a response addressing petitioner's request that this court
order the district judge to grant the government's motion to dismiss filed on May 7, 2020
(ECF No. 198). See Fed. R. Crim. P. 48(a); United States v. Fokker Services B.V., 818
F.3d 733 (D.C. Cir. 2016). The government is invited to respond in its discretion within
the same ten-day period.

The Clerk is directed to transmit a copy of this order to the district court.

Per Curiam
FOR THE COURT:
Mark J. Langer, Clerk
BY: /s/

Laura Chipley
Deputy Clerk
